          Case 1:16-bk-11998          Doc 34 Filed 09/17/18 Entered 09/17/18 11:00:39                        Desc
                                      Notification of Deficiency Page 1 of 1
Form a0ndfcfl

                                            United States Bankruptcy Court
                                               Southern District of Ohio
                                            221 East Fourth Street, Suite 800
                                              Cincinnati, OH 45202−4133


In      Raymond Walker                                        Case No.: 1:16−bk−11998
Re:
                Debtor(s)                                     Chapter: 13
SSN/TAX ID:
     xxx−xx−6866



                                         NOTIFICATION OF DEFICIENCY

The following deficiency was noted in your filing:


      In order for this case to be administered, it is necessary to file a Chapter 13 Plan within 14 days from the filing
      date of your petition or within 14 days from the date of conversion to a chapter 13.


      The PDF document does not match the docket text. Please file an amended document. Re:


      For future reference, a should be filed using


   The attached PDF document is unreadable. Please file an amended document. Re: #33 Notice of Mortgage
Payment Change


      The PDF document appears to be filed in an incorrect case. Please withdraw the document and file in the correct
      case or file an amended document. Re:


      Other Deficiencies:




Dated: September 17, 2018

                                                              FOR THE COURT:
                                                              Richard B. Jones
                                                              Clerk, U.S. Bankruptcy Court
